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                          UNITED STATES DISTRICT COURT
                           MIDDLE DISTRICT OF FLORIDA
                                  OCALA DIVISION


JOSEPHINE LOGIUDICE,

                    Plaintiff,

v.                                                     Case No: 5:17-cv-433-Oc-40PRL

INTELEMEDIA     COMMUNICATIO NS,
INC., INTELEMEDIA PREMIER LEADS,
LLC and DOES 1-25,

                    Defendants.
                                           /

                                           ORDER

      Before the Court are two related          cases—(1) Logiudice v. Intelemedia

Communications, Inc., No. 5:17-cv-433-Oc-40PRL; and Johnson v. Intelemedia

Communications, Inc., No. 5:18-cv-361-Oc-40PRL. The defendants in both actions are

the same. Both actions are putative class actions with overlapping proposed classes.

Further, the complaints in both cases make similar factual allegations and assert claims

under the same provisions of the Telephone Consumer Protection Act. Given the

substantial overlapping issues involved, on or before Wednesday, July 25, 2018, Plaintiff

is DIRECTED to show cause by written response why these cases should not be

consolidated. See Fed. R. Civ. P. 42(a).

      DONE AND ORDERED in Orlando, Florida on July 18, 2018.
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Copies furnished to:

Counsel of Record
Unrepresented Parties




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